              IN THE UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION



THE TWELFTH CONGRESSIONAL
DISTRICT REPUBLICAN COMMITTEES-
BRIAN W. TUCKER, an individual
voter and resident of Richmond
County; CATHY A. LATHAM, a 2020
candidate for Presidential
Elector; and EDWARD T. METZ, a
2020 candidate for Presidential      *
Elector,                             *
                                     *


        Plaintiffs,                  *          CV 120-180

             V.



BRADFORD J. RAFFENSPERGER, in his
official capacity as Secretary of
State of Georgia; REBECCA N.
SULLIVAN, DAVID J. WORLEY,
MATTHEW MASHBURN, and ANH LE, in
their official capacities as         *
Members of the Georgia State         *
Election Board; and TIM MCFALLS,     *
MARCIA BROWN, SHERRY T. BARNES,      *
TERENCE DICKS, and BOB FINNEGAN,     ^
in their official capacities as
Members of the Richmond County
Board of Elections,

        Defendants,

DEMOCRATIC PARTY OF GEORGIA and
DSCC,                                *
                                     *

        Intervenor-Defendants,       *



GEORGIA STATE CONFERENCE OF THE
NAACP; GEORGIA COALITION FOR THE
PEOPLE'S AGENDA, INC.; and HELEN
BUTLER,


        Intervenor-Defendants.




                                  ORDER
     On December 17, 2020, the Court held a hearing on Plaintiffs'

Complaint (Doc. 1) and "Emergency Motion for Temporary Restraining

Order and Preliminary Injunction" (Doc. 2) and Defendants' Motions

to Dismiss (Docs. 27, 28).     After fully considering the parties'

filings and oral arguments, and for the reasons stated on the

record, the Court GRANTS Defendants' Motions to Dismiss (Docs. 27,

28) and DENIES AS MOOT Plaintiffs' "Emergency Motion for Temporary

Restraining     Order   and   Preliminary    Injunction"    (Doc.   2).

Accordingly, this case is DISMISSED WITH PREJUDICE.        The Clerk is

directed to TERMINATE all motions and deadlines and CLOSE this

case.                                               !

        ORDER ENTERED at Augusta, Georgia, this _//_day of December,
2020.




                                 J. WnDAI^ HALLy^CHIEF JUfeCE
                                 UNITED STATES T)ISTRICT COURT
                                 SOUTHERN   DISTRICT OF GEORGIA
